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                                         U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York

                                                   United States District Courthouse
                                                   300 Quarropas Street
                                                   White Plains, New York 10601


                                                   June 27, 2022

BY ECF
Honorable Philip M. Halpern
United States District Judge
Southern District of New York
The Hon. Charles L. Brieant Jr. Federal Building and United States Courthouse
300 Quarropas St.
White Plains, NY 10601

       Re:    United States v. Kevin Christopher, 21 Cr. 151 (PMH)

Dear Judge Halpern:

       The Government respectfully writes to inform the Court that a copy of the Court’s order
of June 27, 2022, ECF No. 46, has been sent today by certified mail to the defendant in the
above-captioned matter.

                                            Respectfully submitted,

                                            DAMIAN WILLIAMS
                                            United States Attorney for the
                                            Southern District of New York


                                        by: /s/ T. Josiah Pertz
                                           T. Josiah Pertz
                                           Assistant United States Attorney
                                           (914) 993-1966
